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                                                         EXHIBIT D

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                             :   Index No.
HUDSON PRIVATE CORP.,                                                        :
                                                                             :
                                         Plaintiff,                          :   AFFIDAVIT OF CONFESSION
                                                                             :   OF JUDGMENT
                                                                             :
                                     v.                                      :
                                                                             :
                                                                             :
BRON CREATIVE USA, CORP.,                                                    :
                                                                             :
                                         Defendant.                          :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          JASON CLOTH, hereby affirms pursuant to CPLR 2106(b):

          1.        I am a principal of defendant Bron Creative USA, Corp. (“Bron Creative”).

          2.        I am duly authorized to make this affidavit on behalf of Bron Creative, which makes

this affidavit pursuant to the provisions of Section 3218 of the Civil Practice Law and Rules of the

State of New York.

          3.        Bron Creative confesses judgment and authorizes the entry of judgment in favor of

Hudson Private Corp. (“Hudson”) against Bron Creative in the total sum of up to Five Million

Dollars ($5,000,000), plus contractual interest at the rate of 15% per annum from January 23, 2020

through the date of collection, plus Hudson’s reasonable attorneys’ fees and expenses incurred in

connection with the filing and enforcement of this Confession of Judgment, minus any payments

that Bron Creative makes to Hudson pursuant to the Settlement Agreement, dated as of July 8,

2022 by and between Hudson and West Ventures LLC on the one hand, and Bron Creative on the

                                                               -16-



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